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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF VIRGINIA

                                         Alexandria Division


    BMG RIGHTS MANAGEMENT(US)
    LLC,et al.
                                                               Civil No. l:14-cv-1611
                           Plaintiffs^
                                                               Hon. Liam O'Grady
    COX ENTERPRISES,INC. et al.

                           Defendants.


                                              ORDER


        This matter comes before the Court on Defendant Cox's Motion to Reconsider the

 Court's Order Granting Plaintiffs' Motion in Limine No. 3(Dkt. 928)and Motion for a Pre-trial

 Instruction Regarding the Import of Testimony Concerning the Digital Millennium Copyright

 Act(Dkt. 938). For the reasons explained below, both motions are DENIED.

           I.   Motion to Reconsider

        Cox moves for reconsideration ofthe Court's ruling on Motion in Limine No. 3, which

 prohibited Cox and its experts from referring to the Copyright Alert System(CAS)and the

 practices of other internet service providers(ISPs)in responding to copyright infringement

 notices. Cox argues that "evidence ofthe industry-designed CAS system and Cox's discussions

 with industry goes directly to their effect on Cox's practices and its state ofmind'' and that "the

 proposed evidence is probative of what Cox believed were reasonable measures to take in

 response to notices of infringement." Dkt. 933 at 2,4. Specifically, Cox seeks to have Matthew

 Carothers testify that "companies within the ISP industry ... regularly exchange best practices

 and, around 2010,the industry began discussing CAS as an approach to combating copyright


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